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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:05CR288
                                              )
DWAYNE YOUMANS,                               )         SCHEDULING ORDER
                                              )
                    Defendant.                )


      IT IS ORDERED that the following is set for hearing on September 8, 2005 at
2:30 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska:

      - Motion to Withdraw as Counsel [24]

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 6th day of September, 2005.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
